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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

VERONICA KARIUKI                    )
                                    )
      Plaintiff,                    )
                                    )                 Civil Case No.: 1:15-cv-00934-TSE-JFA
v.                                  )
                                    )
ETEAM, INC.                         )
                                    )
                                    )
      Defendant.                    )
____________________________________)


        PLAINTIFF VERONICA KARIUKI’S EXPERT WITNESS DISCLOSURE

       Plaintiff Veronica Kariuki (hereinafter “Plaintiff”), by counsel, General Counsel, P.C., and

pursuant to Federal Rules of Civil Procedure Rule 26(a)(2) and the Scheduling Order, serves the

following expert witness disclosure:

       Joseph Migliozzi
       M3 Technology Consultants, Inc.
       c/o General Counsel, P.C.
       6849 Old Dominion Drive, Suite 220
       McLean, Virginia 22101

       Mr. Joseph Migliozzi is an expert in the field of Information Technology. His testimony

will be based on his education and experience in Information Technology, and on his review of

the e-mail at issue as well as any metadata associated with the e-mail. He will opine on the metadata

of the e-mail, the origins of the e-mail, and the authenticity of the e-mail. For further information,

see attached Expert Witness Report.

       Dr. Sumitra Easwaran
       c/o General Counsel, P.C.
       6849 Old Dominion Drive, Suite 220
       McLean, Virginia 22101



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        Dr. Sumitra Easwaran was Plaintiff’s primary care physician at Kaiser Permanente. Her

testimony will be based on her medical training, her medical expertise and experience in treating

patients similar to the Plaintiff, her examination and knowledge of the Plaintiff, and her review of

the Plaintiff’s medical reports and bills. Dr. Sumitra Easwaran will opine on the damages the

Plaintiff suffered, the causation of the Plaintiff’s damages, and that the damages the Plaintiff

suffered are directly related to and caused by the Defendant’s actions. She will also opine on the

reasonableness and necessity of all medical treatment Plaintiff received and the medical bills

charged to the Plaintiff.

        Dr. John Lee
        c/o General Counsel, P.C.
        6849 Old Dominion Drive, Suite 220
        McLean, Virginia 22101

        Dr. John Lee was Plaintiff’s sub primary care physician at Kaiser Permanente. His

testimony will be based on his medical training, his medical expertise and experience in treating

patients similar to the Plaintiff, his examination and knowledge of the Plaintiff, and his review of

the Plaintiff’s medical reports and bills. Dr. John Lee will opine on the damages the Plaintiff

suffered, the causation of the Plaintiff’s damages, and that the damages the Plaintiff suffered are

directly related to and caused by the Defendant’s actions. He will also opine on the reasonableness

and necessity of all medical treatment Plaintiff received and the medical bills charged to the

Plaintiff.

        Dr. Rajeev Verma
        c/o General Counsel, P.C.
        6849 Old Dominion Drive, Suite 220
        McLean, Virginia 22101

        Dr. Rajeev Verman was Plaintiff’s Psychiatrist at Kaiser Permanente. His testimony will

be based on his medical training, his medical expertise and experience in treating patients similar



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to the Plaintiff, his examination and knowledge of the Plaintiff, and his review of the Plaintiff’s

medical reports and bills. Dr. John Lee will opine on the damages the Plaintiff suffered, the

causation of the Plaintiff’s damages, and that the damages the Plaintiff suffered are directly related

to and caused by the Defendant’s actions. He will also opine on the reasonableness and necessity

of all medical treatment Plaintiff received and the medical bills charged to the Plaintiff. Finally,

he will testify that Plaintiff suffered from depression, that he prescribed her Fluoxetine Prozac to

treat her depression, and that the depression stemmed in part from the e-mail she received from

Defendant eTeam, Inc.

       Julie Isaacs, Licensed Clinical Worker
       c/o General Counsel, P.C.
       6849 Old Dominion Drive, Suite 220
       McLean, Virginia 22101

        Ms. Julie Isaacs was Plaintiff’s clinical worker at Kaiser Permanente. Her testimony will

be based on her clinical training, her clinical expertise and experience in treating patients similar

to the Plaintiff, her examination and knowledge of the Plaintiff, and her review of the Plaintiff’s

medical/clinical reports and bills. Ms. Julie Isaacs will opine on the damages the Plaintiff suffered,

the causation of the Plaintiff’s damages, and that the damages the Plaintiff suffered are directly

related to and caused by the Defendant’s actions. She will also opine on the reasonableness and

necessity of all medical treatment Plaintiff received and the medical bills charged to the Plaintiff.

Finally, she will testify that Plaintiff suffered from depression at that time and that the depression

stemmed in part from the e-mail she received from Defendant eTeam, Inc.

       Regina McCombs, Licensed Clinical Worker
       c/o General Counsel, P.C.
       6849 Old Dominion Drive, Suite 220
       McLean, Virginia 22101




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       Ms. Regina McCombs was Plaintiff’s clinical worker at Kaiser Permanente. Her testimony

will be based on her clinical training, her clinical expertise and experience in treating patients

similar to the Plaintiff, her examination and knowledge of the Plaintiff, and her review of the

Plaintiff’s medical/clinical reports and bills. Ms. Julie Isaacs will opine on the damages the

Plaintiff suffered, the causation of the Plaintiff’s damages, and that the damages the Plaintiff

suffered are directly related to and caused by the Defendant’s actions. She will also opine on the

reasonableness and necessity of all medical treatment Plaintiff received and the medical bills

charged to the Plaintiff. Finally, she will testify that Plaintiff suffered from depression at that time

and that the depression stemmed in part from the e-mail she received from Defendant eTeam, Inc.

       Dr. John Youk
       c/o General Counsel, P.C.
       6849 Old Dominion Drive, Suite 220
       McLean, Virginia 22101

       Dr. John Youk was Plaintiff’s primary care physician at Reston Hospital/Inova Hospital.

His testimony will be based on his medical training, his medical expertise and experience in

treating patients similar to the Plaintiff, his examination and knowledge of the Plaintiff, and his

review of the Plaintiff’s medical reports and bills. Dr. John Lee will opine on the damages the

Plaintiff suffered, the causation of the Plaintiff’s damages, and that the damages the Plaintiff

suffered are directly related to and caused by the Defendant’s actions. He will also opine on the

reasonableness and necessity of all medical treatment Plaintiff received and the medical bills

charged to the Plaintiff.

       Dr. Sheena Abraham
       c/o General Counsel, P.C.
       6849 Old Dominion Drive, Suite 220
       McLean, Virginia 22101




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       Dr. Sheena Abraham is Plaintiff’s current primary care physician. Her testimony will be

based on her medical training, her medical expertise and experience in treating patients similar to

the Plaintiff, her examination and knowledge of the Plaintiff, and her review of the Plaintiff’s

medical reports and bills. Dr. Sumitra Easwaran will opine on the damages the Plaintiff suffered,

the causation of the Plaintiff’s damages, and that the damages the Plaintiff suffered are directly

related to and caused by the Defendant’s actions. She will also opine on the reasonableness and

necessity of all medical treatment Plaintiff received and the medical bills charged to the Plaintiff.



                                                      Respectfully submitted,

                                                      _/s/__J. Andrew Baxter_____________
                                                      J. Andrew Baxter
                                                      Merritt J. Green
                                                      Connie M. Ng
                                                      General Counsel, P.C.
                                                      6849 Old Dominion Drive, Suite 220
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 16, 2015, I filed the foregoing Plaintiff’s Expert

Disclosure with the Clerk of the Court using CM/ECF, which will send a notice of electronic filing

(NEF) to all registered users listed below:

CARL MALONEY P.C.
Tina M. Maiolo, Esquire
2000 L Street, NW
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Washington, D.C. 20036




                                                    _/s/__J. Andrew Baxter_____________
                                                    J. Andrew Baxter
                                                    Merritt J. Green
                                                    Connie M. Ng
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